
JUSTICE RICE,
concurring.
¶39 I concur with the Court’s resolution of all issues. Under Issue 1,1 disagree with the Court’s statement in ¶ 26 that “[n]one of the incidents was inextricably linked to, and explanatory of, the charged offense.” The incidents here were similar to the pre-crime incidents we affirmed under the transaction rule in State v. Mackrill, 2008 MT 297, 345 Mont. 469, 191 P.3d 451, and State v. McCaslin, 2004 MT 212, 322 Mont. 350, 96 P.3d 722. However, under the trial issues presented here, I agree that the District Court acted within its discretion in determining to exclude the evidence.
